
426 S.E.2d 708 (1993)
333 N.C. 349
NUCOR CORPORATION
v.
GENERAL BEARING CORPORATION.
No. 378PA91.
Supreme Court of North Carolina.
February 11, 1993.
Raymond E. Owens, Jr., Charlotte, Anthony De Toro, New York City, for defendant.
Ernest S. DeLaney, III, Charlotte, for plaintiff.
Prior reports: 103 N.C.App. 518, 405 S.E.2d 776; 330 N.C. 442, 412 S.E.2d 74; 333 N.C. 148, 423 S.E.2d 747.

ORDER
Upon consideration of the petition filed by Plaintiff in this matter for rehearing of the decision of this Court pursuant to Rule 31, N.C. Rules of Appellate Procedure, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of February 1993."
